Case.2:20-cr-00114-JES-MRM Document 136-24 Filed 03/31/21 Page 1 of 2 PagelD 1657

Jennifer Briggs

From: Kristin Dilorio

Sent: Friday, April 24, 2020 9:22 AM
To: Jennifer Briggs

Subject: FW: Wire transfer for today
Attachments: IMG_0484,jpg; ATTO0001.txt
Kristin Dilorio

Vice President & Office Manager
1533 Hendry St Ste 100

Fort Myers, FL 33901

ph (239) 274-6205

fx (239) 210-2373
Kdiiorio@sancapbank.com

Apply Online: www.mortgage.sancapbank.com

oe Original Message-----

From: Casey Crowther <casey @targetroofers.com> .
Sent: Friday, April 24, 2020 8:56 AM h Ebi t:
To: Kristin Dilorio <KDilorio@sancapbank.com> —_—
Subject: Wire transfer for today

I need this to post today please Pus Sts

Amount is 689,417.00

Six hundred eighty nine thousand four hundred seventeen dollars.

U.S-District Court
Pee canes of Florida

Fort Myers Division

GOVERNMENT EXHIBIT
Exhibit No.: oO) l
Case No.: 2:S20-cr-114-FtM-JES-MRM
UNITED STATES OF AMERICA

VS.

CASEY DAVID CROWTHER

 

Date Identified:

 

Date Admitted:

 

2408 CTE!

Zs wipreene Aurdlase

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EX_29 001
» Case 2:20-cr-00114-JES-MRM Document 136-24 Filed 03/31/21 Page 2 of 2 PagelD 1658

Incoming Domesti .

     
   

Whom It May Concern

 

ABA:

Account #

EX_29 002
